                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              GREENSBORO DIVISION


       PAULICKIA                    JAZZMUN
       HAIRSTON,
                                                                   Civil Action
                                   Plaintiff,                     No. 22 CV 500

 V.                                                           COMPLAINT
                                                         TRIAL BY JURY REQUESTED
       B.K. TALLEY, in his individual and
       official capacities, BRIAN K.
       TALLEY, in his individual and official
       capacities, JEROME PALMENTERI,
       in his individual and official capacities,
       CHIEF WAYNE SCOTT, in his
       individual and official capacities,
       CHIEF BRIAN L. JAMES, in his
       individual and official capacities and as
       successor to CHIEF WAYNE SCOTT,
       GREENSBORO                       POLICE
       DEPARTMENT,              CITY         OF
       GREENSBORO, ROBERT ENOCHS,
       in his individual and official capacities,
       AVERY CRUMP, in her individual
       and official capacities, and the STATE
       of NORTH CAROLINA,

                                 Defendants.


         NOW COMES Plaintiff PAULICKIA JAZZMUN HAIRSTON, through counsel, and

      hereby complains of the defendants as follows:

                                   STATEMENT OF JURISDICTION

1. Plaintiff invokes the original jurisdiction of this Court to hear and decide claims arising out

      of federal law in addition to ancillary claims involving the law of the State of North

      Carolina. The jurisdiction of this Court is invoked pursuant to Title 28 USC §1343(3) and

      28 U.S.C. §1343(3). This lawsuit is brought under 42 U.S.C. §1983 to redress the

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   deprivation of Plaintiff PAULICKIA JAZZMUN HAIRSTON’S constitutional rights,

   including those protected by the Fourth, Fifth, and Fourteenth Amendments. All defendants

   are alleged to have acted under color of North Carolina state law. This action is also one

   for attorneys’ fees under 42 U.S.C. § 1988.

2. Venue is proper in the United States District Court under 28 U.S.C. § 1391 (b) (2) because

   a substantial part of the acts or omissions giving rise to the claims herein occurred in this

   judicial district

3. This court has supplemental pendent jurisdiction over Plaintiff’s state law claims under 28

   U.S.C. § 1367.

                                           PARTIES

4. Plaintiff PAULICKIA JAZZMUN HAIRSTON is a citizen and resident of the city of

   Greensboro, Guilford County, North Carolina.

5. Upon information and belief, Defendant Officer B.K TALLEY, full name believed to be

   BRIAN K. TALLEY (hereinafter referred to as “TALLEY”), is a citizen and resident of

   Greensboro, Guilford County, North Carolina. Defendant TALLEY was at all times a duly

   sworn police officer employed by the City of Greensboro, Greensboro Police Department.

   TALLEY acted at all times under color of North Carolina state law in his capacity as agent

   and employee of the defendants GREENSBORO POLICE DEPARTMENT (hereinafter

   GPD”) and CITY OF GREENSBORO. These two entities are hereinafter jointly referred

   to as the GREENSBORO DEFENDANTS.

6. Upon information and belief, defendant JEROME PALMENTERI is a citizen and resident

   of Greensboro, Guilford County, North Carolina. PALMENTERI was at all times an

   investigator employed by the GREENSBORO DEFENDANTS. PALMENTERI acted at



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   all times under color of North Carolina state law in his capacity as agent and employee of

   the GREENSBORO DEFENDANTS.

7. Upon information and belief, defendant CHIEF WAYNE SCOTT (hereinafter referred to as

   “CHIEF SCOTT”), is a citizen and resident of Greensboro, Guilford County, North

   Carolina. CHIEF SCOTT was at all times relevant to these proceedings employed as Chief

   of Police of defendants GPD and the GREENSBORO DEFENDANTS. CHIEF SCOTT

   acted at all times under color of North Carolina state law in his capacity as agent and

   employee of the GREENSBORO DEFENDANTS.

8. Upon information and belief, defendant CHIEF BRIAN L. JAMES (hereinafter referred to

   as “CHIEF JAMES”) is a citizen and resident of Greensboro, Guilford County, North

   Carolina. Upon further information and belief, CHIEF JAMES is the successor to CHIEF

   SCOTT at the GPD and is accordingly charged with all liability of CHIEF SCOTT which

   is imputed to him by operation of law. CHIEF JAMES was at all times acting under color

   of North Carolina state law in his capacity as agent and employee of the GREENSBORO

   DEFENDANTS.

9. At all times relevant to this Complaint, CHIEF SCOTT was responsible for properly

   training, supervising, managing, and otherwise overseeing the various officers and

   employees working for defendants GPD who in turn were employees and agents of the

   GREENSBORO DEFENDANTS. He was directly responsible for the actions of all officers

   and employees under his authority including those named as individual defendants in this

   action.

10. Defendant CITY OF GREENSBORO is a municipal corporation organized and existing

   under the laws of the State of North Carolina. At all times relevant hereto, defendant CITY



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   OF GREENSBORO, acting through the GPD, was responsible for all GPD operations

   including but not limited to responsibility for the appointment, training, supervision,

   discipline and retention and conduct of all GPD personnel as well as the establishment of

   proper rules, protocols, management, and oversight for how those personnel operated.

   Defendant CITY OF GREENSBORO was responsible for enforcing the rules of the GPD

   and for ensuring that GPD personnel obeyed the laws of the United States and the State of

   North Carolina.    All acts and omissions of the GPD are imputed to the CITY OF

   GREENSBORO by agency principles and/or are in fact the actions of the CITY OF

   GREENSBORO itself because the CITY OF GREENSBORO runs, established, and

   controls defendant GPD as the CITY OF GREENSBORO’s means of providing policing

   services.

11. Defendants CITY OF GREENSBORO and GPD (collectively “the GREESNBORO

   DEFENDANTS”) acted at all times under color of North Carolina state law.

12. Upon information and belief, Defendant ROBERT ENOCHS is a citizen and resident of

   Guilford County, North Carolina. ENOCHS was at all times acting in his capacity as agent

   and employee for defendant STATE OF NORTH CAROLINA in his role of Assistant

   District Attorney, Guilford County District Attorney’s Office. ENOCHS acted at all times

   under color of North Carolina state law.

13. Upon information and belief, Defendant AVERY CRUMP is a citizen and resident of

   Guilford County, North Carolina. CRUMP acted at all times under color of North Carolina

   State law as the elected District Attorney for the County of Guilford on behalf of defendant

   STATE OF NORTH CAROLINA.




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14. All acts and omissions committed by Defendants ENOCHS and CRUMP were committed

   in the course and scope of their employment with defendant STATE OF NORTH

   CAROLINA as Assistant District Attorney and Elected District Attorney for Guilford

   County, respectively, and as such all acts and omissions committed by said defendants are

   imputed to Defendant STATE OF NORTH CAROLINA pursuant to respondeat superior

   and other agency principles.

15. Defendants STATE OF NORTH CAROLINA, ENOCHS, and CRUMP are subject to suit

   under both 42 U.S.C. §1983 and the North Carolina State Tort Claims Act for the acts and

   omissions of its employees ENOCHS and CRUMP, as more particularly described herein.

   None of these defendants have any immunity available to them.

16. Each individual defendant, through the particular acts and omissions each has committed

   as described herein, has waived any qualified immunity that might otherwise be available

   to him and/or such qualified immunity is inapplicable by operation of law.

17. The GREENSBORO defendants, TALLEY, SCOTT, JAMES, and PALMENTERI have

   no immunity from the 42 U.S.C. section §1983 claims. Upon information and belief, these

   defendants also have no immunity for the Plaintiff’s state law claims because the

   GREENSBORO defendants have either (1) purchased liability insurance and thereby

   waived any available governmental immunity pursuant to N.C.G.S. §160A-485; (2)

   entered into a governmental risk pool that has waived governmental immunity pursuant to

   N.C.G.S. §160 A-485; or (3) enacted a City Council Resolution waiving the application of

   governmental immunity to the claims asserted in this lawsuit.




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                                          FACTS

18. On July 6, 2019, Plaintiff HAIRSTON drove to the Willomore Street apartments at 1808

   Willomore Street with a friend, Chad D. Vaughn, Jr., in a car driven by Plaintiff. Plaintiff

   and Vaughn were accompanied by several other friends including Michael B. Mills,

   Jacqueline R. Whitaker and Niasia Hightower. The purpose of the visit was for Chad

   Vaughn, Jr., a former resident of an apartment at the complex, to retrieve certain items of

   personal property that belonged to him.

19. While at the Willomore Street apartments, Chad Vaughn, Jr. became involved in a verbal

   dispute with a former neighbor named Melanie Carter. The dispute was over a punching

   bag or other property that Mr. Vaughn was told that Melanie Carter had taken and sold

   without Mr. Vaughn’s permission. Several people were standing around the apartment

   complex drinking heavily when the discussion between Mr. Vaughn and Ms. Carter began.

   During this verbal dispute Carter’s adult son struck Niasia Hightower in the face. Someone

   in the crowd then announced that the police had been called. On hearing this, the crowd

   began to disperse.

20. Upon information and belief, GPD dispatch received a call from someone at the Willomore

   Street apartments indicating that a “disturbance” was occurring. Three GPD officers

   responded to this disturbance call, namely officers TALLEY, Neiers, and Roscoe. The

   three officers had no information or reason to believe that anyone involved in the

   “disturbance” had committed any crime. They only knew that a disturbance was occurring.

   The three likewise had no information or evidence suggesting that anyone should be

   arrested. They went to the Willomore Street apartments only to see what was happening.




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21. By the time the three officers arrived, plaintiff HAIRSTON and her party had decided to

   leave the apartments and were already in Plaintiff’s car and in the process of leaving.

22. As plaintiff HAIRSTON was driving towards the exit of the cul-de-sac of the apartments,

   an officer standing behind her car (now believed to be Officer Roscoe) called out for her

   to stop. That officer used his hand to knock on the back of Plaintiff’s car. Plaintiff was

   afraid and knew that she had done nothing wrong that warranted police detaining either her

   or anyone else in her group. Plaintiff, who had not been involved in any verbal

   “disturbance”, wanted nothing to do with any of it and therefore determined to leave the

   apartments and continued driving away.

23. When Plaintiff drove away no crime had in fact been committed by anyone in Plaintiff’s

   vehicle. Indeed, after the incident described in this Complaint occurred no one was ever

   arrested or charged with any crime for anything having to do with the verbal disturbance

   to which the officers were responding. It follows that at no time during the incident

   described herein did Defendant TALLEY or any other officer ever have probable cause to

   believe that any crime had been committed.

24. As Plaintiff drove toward the apartment cul-de-sac exit, Defendant TALLEY, who was

   standing near the exit, determined to stop her from leaving.

25. When Plaintiff HAIRSTON did not stop her vehicle and instead drove past Defendant

   TALLEY to leave, Defendant TALLEY fired his service weapon at Plaintiff from behind.

   More particularly, Defendant TALLEY shot at Plaintiff three times including through the

   driver’s side window of her car from a rear angle that sent the bullet through the back of

   Plaintiff’s head, through her brain, and out through her teeth obliterating her mouth. The

   bullet lodged in the speedometer under the steering wheel.



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26. Soon after the shooting occurred, Defendant TALLEY falsely told police investigators,

   including but not limited to Defendant PALMENTERI, that he fired his weapon through

   the front windshield of Plaintiff’s vehicle in self-defense because Plaintiff was driving at

   him to run him over. This claim was obviously false because the irrefutable physical

   evidence gathered by the GREENSBORO DEFENDANTS and PALMENTERI

   themselves proved that the trajectory path of the bullet was from behind Plaintiff through

   the driver’s side window through the back of Plaintiff’s head and into the speedometer in

   front of Plaintiff.

27. At all times after the shooting happened the GREENSBORO DEFENDANTS and

   PALMENTERI knew (1) that TALLEY had shot Plaintiff HAIRSTON after she had driven

   past him, and (2) that TALLEY was not in a self-defense position when he fired at her from

   behind.

28. Because Defendant TALLEY was not in self-defense position when he shot Plaintiff, he

   was prohibited from using lethal force against Plaintiff after she drove past him.

29. When Defendant TALLEY shot Plaintiff HAIRSTON from behind through the back of the

   head, neither Plaintiff nor anyone in her vehicle was threatening Defendant TALLEY in

   any way. Neither Plaintiff nor anyone in her vehicle was pointing a firearm at Defendant

   TALLEY or threatening to point a firearm at him.

30. Defendant TALLEY’s action in shooting Plaintiff through the back of the head when she

   had driven past him directly violated lethal force rules applicable to law enforcement

   generally and use of lethal force rules enacted by the GREENSBORO DEFENDANTS

   specifically. An officer is never authorized to shoot into a moving car that is going past or




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   has gone past that officer. Doing so is a violation of the victim’s constitutional rights as a

   matter of law.

31. The wrongful actions of defendant TALLEY directly violated the GREENSBORO

   DEFENDANTS’ Greensboro Police Departmental Directives which provide as follows:

     Officers will not fire any weapon from or at a moving vehicle except to counter
     an imminent threat of death or serious physical injury to the officer or another
     person and no other means are reasonably available at that time to avoid or
     eliminate the danger. Officers must consider the below factors when determining
     if the use of force is justified:

 1. An occupant of the vehicle is using or threatening to use lethal force by means
    other than the vehicle.
 2. The vehicle is being operated in a manner deliberately intended to strike a
    person.
 3. All other reasonable means of defense or escape (including taking cover or
    moving out of the path of the vehicle or other evasive action) have been
    exhausted, are not practical, or are not present.
 4. Use of deadly force must cease after the vehicle no longer presents an immediate
    threat.


32. If Defendant TALLEY ever stepped in front of Plaintiff’s oncoming vehicle such that he

   could be hit by the vehicle if he continued to stand there without moving out of the way,

   which is expressly denied, then all Defendant TALLEY had to do was step out of the way

   to avoid being in any danger. If TALLEY ever placed himself in front of the vehicle, then

   he did in fact step out of the way. He therefore had no right under the GREENSBORO

   DEFENDANTS’ own departmental directives to shoot plaintiff through the back of the

   head through her driver’s side window.

33. Defendant TALLEY shot at Plaintiff a total of three times when she had driven past him.

34. Defendant   TALLEY        falsely   told   police     investigators,   including   Defendant

   PALMENTERI, that after firing through the front windshield (which was false as he

   actually shot from behind Plaintiff through the driver’s side window) that he next assessed

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   the situation and decided to fire two additional rounds at Plaintiff because he was

   concerned for the safety of an additional officer who was approaching the scene. Upon

   information and belief, in truth TALLEY made no such assessment but simply fired two

   more rounds at Plaintiff to stop her from leaving. Upon further information and belief, no

   other officer was approaching the scene.

35. Upon information and belief, the GREENSBORO DEFENDANTS and Defendant

   PALMENTERI knew after the shooting that TALLEY’S claim that he continued firing at

   Plaintiff as she drove further away from him in order to protect another officer was false

   and unsupported by any evidence.

36. After being shot through the back of her head, Plaintiff HAIRSTON lost the ability to

   control her vehicle which proceeded to roll through a yard and into a tree.

37. Defendant PALMENTERI was at all relevant times employed as an investigator for the

   GREENSBORO DEFENDANTS. Upon information and belief, the GREENSBORO

   DEFENDANTS appointed defendant PALMENTERI as their lead investigator to examine

   and analyze the circumstances surrounding Defendant TALLEY’S shooting of Plaintiff

   HAIRSTON and to reach conclusions about the shooting.

38. Defendant PALMENTERI ultimately communicated with the Guilford County District

   Attorney and acted for the GREENSBORO DEFENDANTS in unlawfully requesting that

   the District Attorney bring a felony charge of assault on a police officer under N.C.G.S.

   §14-34.2 against Plaintiff HAIRSTON for allegedly deliberately trying to hit Defendant

   TALLEY with her car.

39. The investigation conducted by defendant PALMENTERI and the conclusions he reached

   were illegitimate and, upon information and belief, intended to exonerate defendant



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  TALLEY from responsibility for wrongfully shooting the Plaintiff in the back of the head,

  and by extension to protect the GREENSBORO DEFENDANTS, without regard to what

  the actual evidence showed.

40. When defendant PALMENTERI met with defendant STATE OF NORTH CAROLINA’s

  employees at the Guilford County District Attorney’s Office (believed to be defendant

  ENOCHS) and endorsed a felony charge against Plaintiff for allegedly trying to

  deliberately strike TALLEY with her vehicle, upon information and belief defendants

  PALMENTERI and GREENSBORO DEFENDANTS knew at a minimum each of the

  following:

     a. that when the three officers, including TALLEY, arrived at the scene in response

         to a verbal disturbance no evidence existed that any crime had been committed;

     b. that when the three officers arrived at the scene no evidence existed that Plaintiff

         HAIRSTON had committed any crime;

     c. that when the three officers arrived at the scene Defendant TALLEY had no

         reasonable articulable suspicion or probable cause to arrest anyone, including

         Plaintiff HAIRSTON;

     d. that Plaintiff HAIRSTON had driven her vehicle past Defendant TALLEY when

         TALLEY shot her;

     e. that the irrefutable physical evidence gathered by PALMENTERI and the

         GREENSBORO DEFENDANTS proved that that HAIRSTON had driven past

         TALLEY when he fired at her, to wit, the trajectory of the shot was from behind

         Plaintiff, through her head, and out through her teeth into the speedometer of the

         dashboard;



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       f. that defendant TALLEY was not in a self-defense position when he shot Plaintiff

           in the back of the head;

       g. that defendant TALLEY falsely claimed that he fired through the front windshield

           of Plaintiff’s vehicle in self-defense when in fact the physical evidence proved that

           shot Plaintiff from behind through the back of the head;

       h. that defendant TALLEY fired two additional rounds at Plaintiff after Plaintiff had

           driven further past TALLEY;

       i. that defendant TALLEY falsely claimed that he fired those two additional rounds

           because he was trying to protect an officer who did not exist;

       j. that if a self-defense situation ever existed for TALLEY, which it did not, then it

           ended when HAIRSTON drove past him;

       k. that once a driver has gone past an officer that officer has no right to shoot into a

           vehicle and that doing so in an improper use of lethal force;

       l. that the BWC (Body Worn Camera) footage showed that defendant TALLEY was

           not in a self-defense position and had no right to shoot the Plaintiff in the back of

           the head from behind her.

41. Defendant PALMENTERI ordered that a GPD Crash Reconstruction Team analyze the

   scene and prepare a conclusion on what happened.

42. Investigator A.D. Reed, acting within the course and scope of his employment for the GPD

   and the CITY OF GREENSBORO, responded to the scene on behalf of the

   GREENSBORO DEFENDANTS at the request of defendant PALMENTERI to complete

   a crash reconstruction analysis and reach a conclusion about what occurred.




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43. Investigator Reed concluded that, “the crash was avoidable if Ms. Hairston would have

   reduced speed and not have accelerated so heavily.” Reed reached this conclusion for and

   on behalf of the GREENSBORO DEFENDANTS.

44. The GREENSBORO DEFENDANTS and defendant PALMENTERI knew that

   Investigator Reed’s conclusion was nonsensical. The accident did not happen because

   Plaintiff failed to reduce speed but rather happened because Defendant TALLEY shot

   Plaintiff in the back of the head causing plaintiff to lose the ability to control the vehicle.

45. The GREENSBORO DEFENDANTS and defendant PALMENTERI relied on the

   nonsensical conclusion of Investigator Reed in electing to refer and endorse a felony charge

   of assault on an officer against Plaintiff HAIRSTON, a charge the Guilford Greensboro

   District Attorney’s Office made on behalf of defendant STATE OF NORTH CAROLINA.

46. Before requesting that the Guilford County District Attorney charge Plaintiff HAIRSTON

   with felony assault on an officer, the GREENSBORO DEFENDANTS and defendant

   PALMENTERI either viewed all available BWC video footage and knew from that footage

   did not support the conclusion that defendant TALLEY was in a self-defense position and

   entitled to shoot Plaintiff HAIRSTON in the back of the head, or the GREENSBORO

   DEFENDANTS should have reviewed the BWC which would have shown this.

47. The GREENSBORO DEFENDANTS’ action in referring and endorsing a criminal charge

   against Plaintiff HAIRSTON for assault on an officer was wrongful, upon information and

   belief was for an improper purpose of protecting the GREENSBORO DEFENDANTS and

   defendant TALLEY, was a violation of Plaintiff HAIRSTON’S constitutional rights, led

   to the initiation of an unlawful and malicious prosecution, and was otherwise illegal.




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48. Upon information and belief, the GREENSBORO DEFENDANTS and defendant

   PALMENTERI commenced their unlawful plan to cover up TALLEY’S illegal shooting

   of Plaintiff by posting an officer at the hospital with Plaintiff HAIRSTON and wrongfully

   handcuffing her to her hospital bed.

49. Defendants ROBERT ENOCHS and AVERY CRUMP, as employees of defendant

   STATE OF NORTH CAROLINA and acting in the capacities of Guildford County

   Assistant District Attorney and elected District Attorney respectively, wrongfully and

   illegally charged Plaintiff HAIRSTON with felony assault on a police officer.

50. Defendants ENOCHS and CRUMP and STATE OF NORTH CAROLINA, prior to

   charging Plaintiff, knew or should have known all of the information referenced in

   paragraph 40 above and knew or should have known that they lacked probable cause to

   charge Plaintiff HAIRSTON with felony assault on an officer.

51. Defendants ENOCHS and CRUMP and STATE OF NORTH CAROLINA knew or should

   have known that the BWC footage showed that Plaintiff had not committed felony assault

   on an officer, that TALLEY was not in a position of danger, and that TALLEY had acted

   unlawfully when he shot Plaintiff from behind.

52. Upon information and belief, defendants ENOCHS and CRUMP and STATE OF NORTH

   CAROLINA charged Plaintiff HAIRSTON with felony assault on a police officer in order

   to protect defendant TALLEY and the GREENSBORO DEFENDANTS by seeking to

   justify TALLEY’s wrongful use of lethal force against Plaintiff.

53. Defendant ENOCHS, acting under color of North Carolina state law, acted in the course

   and scope of his employment as a prosecutor with defendant STATE OF NORTH

   CAROLINA in wrongfully filing and pursuing a felony charge against Plaintiff



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   HAIRSTON. Defendant CRUMP approved of and authorized that prosecution for

   defendant STATE OF NORTH CAROLINA and his wrongful actions are imputed to the

   defendant STATE OF NORTH CAROLINA.

54. Criminal defense counsel for Plaintiff HAIRSTON, as part of his defense of the Plaintiff,

   requested that defendants ENOCHS and CRUMP and STATE OF NORTH CAROLINA

   provide Plaintiff with access to the BWC footage. Defendants refused. Upon information

   and belief, defendants refused because they knew that the BWC footage showed that

   TALLEY was not entitled to use lethal force in shooting Plaintiff from behind and that no

   legitimate basis existed for prosecuting Plaintiff for felony assault on a police officer.

55. Criminal defense counsel was forced to file a motion to compel the production of the BWC

   footage in Plaintiff’s felony case. Ultimately defendants ENOCHS, CRUMP, and the

   STATE OF NORTH CAROLINA elected to dismiss the felony charge against Plaintiff

   rather than provide counsel with that BWC footage.

56. Criminal defense counsel then filed a second motion relating to the BWC footage, namely

   a Petition for Release of Custodial Law Enforcement Agency Recording.

57. In response to the Petition, defendants ENOCHS, CRUMP, and the STATE OF NORTH

   CAROLINA apparently felt that they had no choice but to allow counsel access to the

   BWC footage, which they did. Access to the footage was strictly limited to seeing the video

   only at certain times at the GPD and without making any copies of the footage. These

   defendants, as well as the GREENSBORO DEFENDANTS, have however continued to

   refuse to produce the actual footage to Plaintiff’s counsel.

58. As a direct and proximate result of the unlawful acts and omissions of defendants

   TALLEY, PALMENTERI, SCOTT, JAMES, and the GREENSBORO DEFENDANTS,



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   Plaintiff HAIRSTON suffered severe, disabling and deforming injuries to her face,

   mandible, orbit, brain, teeth, and other parts of her body that required extensive

   hospitalization and treatment. Plaintiff further sustained disabling emotional injuries

   including PTSD. Plaintiff additionally incurred medical expenses, will incur medical

   expenses in the future, sustained permanent injuries, experienced scarring, experienced and

   will continue to experience severe emotional distress, lost wages from her employment

   past present and future, experienced pain and suffering past present and future, and suffered

   other and further damages to be proved at trial.

59. The unlawful acts and omissions committed by defendants STATE OF NORTH

   CAROLINA, ROBERT ENOCHS, and AVERY CRUMP perpetuated the wrongs

   committed by the defendants referenced in the preceding paragraph and joined and

   concurred with that wrongdoing to proximately cause the damages described in the

   preceding paragraph. In addition to the injuries and damages referenced in the preceding

   paragraph proximately caused by all defendants, Plaintiff HAIRSTON also experienced

   additional damages as a direct and proximate result of the wrongful actions of the STATE

   OF NORTH CAROLINA, ENOCHS, and CRIMP. Those damages include severe

   emotional distress in being forced to endure an unlawful criminal prosecution after being

   shot in the back of the head, the worsening of existing severe emotional distress Plaintiff

   had already experienced from being shot in the back of the head, being barred from

   obtaining evidence that supported her legal rights against TALLEY and exonerated her of

   the criminal charge, and other and further damages to be proved at trial.

60. Upon information and belief, each defendant named in this lawsuit engaged in an unlawful

   conspiracy to deprive Plaintiff of her clearly established constitutional rights (Fourth, Fifth,



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   and Fourteenth) as well as other legal rights in order to protect TALLEY and the law

   enforcement defendants from fault and potential legal liability. Each defendant is therefore

   individually liable for every other defendant’s unlawful acts and the damages caused

   thereby. Plaintiff is entitled to recover of all defendants, jointly and severally, for all

   damages she has sustained because of defendants’ shared violation of her constitutional

   rights including but not limited to her Fourth Amendment rights.

61. Plaintiff’s entitlement to recover of defendants for violating her constitutional rights, and

   the inapplicability of any qualified immunity for any of the defendants, is established by

   prevailing Federal law. Williams v. Strickland, 917 F.3d 763 (4th Cir. 2019) holds as

   follows:

       Officers had violated the Fourth Amendment to the extent that they started to use
       deadly force, or continued to use deadly force, once the car had driven past them
       i.e., once it was no longer reasonable for them to believe that the car was about
       to run them (or their fellow officers) over. This was true even though mere
       seconds separated the point at which deadly force was lawful to the point at which
       deadly force was unlawful. As we put it then [in prior case precedent of
       Waterman v. Batten], “force justified at the beginning of an encounter is not
       justified even seconds later if the justification for the initial force has been
       eliminated.”


62. The decision in Williams, which follows and affirms its predecessor, Waterman v. Batten,

   393 F.3d 471 (4th Cir. 2005), unambiguously confirms that a police officer who shoots a

   driver who is either in the process of driving past that officer or has driven past the officer,

   even if the driver had previously been driving directly at the officer, violates the driver’s

   clearly established constitutional rights as a matter of law.

                        FIRST CLAIM FOR RELIEF
      42 U.S.C. §1983 – Excessive Force in Violation of the Fourth Amendment, and
   Unlawful Prosecution in Violation of Fifth Amendment and Fourteenth Amendment
                            (against all defendants)



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63. Plaintiff realleges and incorporates by reference all prior paragraphs of the Complaint as if

   fully set forth herein.

64. Federal statute 42 U.S.C. § 1983 provides as follows:

     Every person, who under color of any statute, ordinance, regulation, custom or
     usage of any state or territory or the District of Columbia subjects or causes to
     be subjected any citizen of the United States or other person within the
     jurisdiction thereof to the deprivation of any rights, privileges or immunities
     secured by the constitution and law shall be liable to the party injured in an
     action at law, suit in equity, or other appropriate proceeding for redress….


65. All defendants named in this lawsuit qualify as persons for the purposes of 42 U.S.C §

   1983. All defendants violated Plaintiff’s clearly established constitutional rights and all are

   liable to Plaintiff under 42 U.S.C. §1983.

66. Defendants TALLEY, PALMENTERI, the GREENSBORO DEFENDANTS, JAMES,

   and SCOTT were all at all times acting under the color of North Carolina state law in their

   capacities as employees, investigators, chiefs of police, and in other roles for the

   GREENSBORO DEFENDANTS. Defendants STATE OF NORTH CAROLINA,

   ENOCHS, and CRUMP were likewise acting under the color of North Carolina state law

   in their capacities as prosecuting entity, Assistant District Attorney prosecutor, and elected

   District Attorney respectively. All defendants’ acts and omissions were committed in their

   official capacities and within the scope of their employment with, respectively, the

   GREENSBORO DEFENDANTS and the STATE OF NORTH CAROLINA.

67. At the time of the events complained of, Plaintiff HAIRSTON had a clearly established

   constitutional right to be secure in her person from unreasonable seizure through excessive

   force. This specifically included the clearly established right to be free from being shot

   while driving past a police officer.



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68. Plaintiff HAIRSTON also had the clearly established constitutional right under the Fourth

   Amendment to bodily integrity and to be free from excessive force by law enforcement.

69. Plaintiff HAIRSTON also had the clearly established constitutional right to be free from

   wrongful and malicious prosecution and to be afforded the right to obtain and see the

   evidence against her, the same being violations of her Fourth Amendment rights, her Fifth

   Amendment due process rights, and her Fourteenth Amendment due process rights.

70. Any reasonable law enforcement officer and law enforcement department, including

   TALLEY, the GREENSBORO DEFENDANTS, PALMENTERI, JAMES, and SCOTT,

   knew or should have known that Plaintiff had the constitutional rights referenced above

   and that those constitutional rights were clearly established and could not be infringed.

71. Any reasonable district attorney’s office in North Carolina or in any other state, including

   prosecuting assistant district attorneys and elected district attorneys, knew or should have

   known that Plaintiff had the constitutional rights referenced above and that those

   constitutional rights were clearly established and could not be infringed.

72. Defendant TALLEY’S action in shooting Plaintiff HAIRSTON in the back of the head

   after she had passed him in her car was objectively unreasonable under the circumstances

   confronting TALLEY at the time. TALLEY was not in a self-defense position and was not

   entitled to use lethal force against Plaintiff and TALLEY’S action violated Plaintiff

   HAIRSTON’s Fourth Amendment rights.

73. The various other acts and omissions of the GREENSBORO DEFENDANTS and

   defendant PALMENTERI detailed in paragraphs 26-48 above were unreasonable under

   the circumstances, and each act and omission constituted a violation of Plaintiff

   HAIRSTON’s Fourth Amendment rights.



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74. The actions of defendants STATE OF NORTH CAROLINA, ENOCHS, and CRUMP

   described above in paragraphs 49-60 of the Complaint were objectively unreasonable in

   light of the facts and circumstances involved and each act or omission violated Plaintiff’s

   Fourth Amendment, Fifth Amendment, and Fourteenth Amendment rights.

75. The defendants’ actions in using unlawful lethal force and pursuing an unlawful

   Prosecution against Plaintiff, said actions including each individual act and omission of

   each defendant detailed above in this Complaint, were malicious and undertaken with a

   reckless, callous, and deliberate indifference to Plaintiff HAIRSTON’s clearly established

   constitutional rights.

76. Defendants TALLEY, GREENSBORO DEFENDANTS, SCOTT and JAMES unlawfully

   seized Plaintiff HAIRSTON in violation of her Fourth Amendment right to be free of

   unreasonable searches and seizures by means of objectively unreasonable, excessive and

   shocking physical force, to wit, shooting plaintiff in the back of the head when she had

   driven past TALLEY. Upon information and belief, defendant PALMENTERI committed

   the unlawful acts described herein to ultimately protect TALLEY from responsibility for

   committing constitutional violations against Plaintiff. PALMENTERI’s actions were

   objectively unreasonable and a violation of 42 U.S.C. §1983.

77. Upon information and belief, defendants STATE OF NORTH CAROLINA, ENOCHS,

   and CRUMP maliciously prosecuted Plaintiff without probable cause in order to protect

   the other defendants from responsibility for their actions. Said malicious prosecution

   constitutes a violation of Plaintiff’s clearly established constitutional rights including the

   right to be free of malicious prosecution, the right to due process under the Fifth and

   Fourteenth Amendments, and the right to be free of unlawful seizures of her person



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   pursuant to the Fourth Amendment. Defendants STATE OF NORTH CAROLINA,

   ENOCHS, and CRUMP’s actions in barring Plaintiff from obtaining critical exonerating

   evidence constitutes also violated Plaintiff’s clearly established constitutional rights

   including her due process rights.

78. The felony prosecution against Plaintiff was instituted without probable cause and

   maliciously for a purpose other than bringing Plaintiff to justice. That prosecution was

   terminated by the discharge of the Plaintiff in the form of a dismissed charge.

79. Upon information and belief, all defendants’ actions in violating Plaintiff’s clearly

   established constitutional rights were undertaken in concert with each other as part of a

   conspiracy to deprive Plaintiff of her constitutional rights, and each defendant is thus

   equally liable for the actions of every other defendant.

80. Upon information and belief, all defendants engaged in the conduct complained of

   willfully, maliciously, callously, in bad faith, and in reckless disregard and indifference of

   Plaintiff HAIRSTON’s constitutional rights.

81. All defendants engaged in the conduct described in this Complaint with shocking and

   willful indifference to Plaintiff HAIRSTON’s constitutional rights and, upon information

   and belief, with awareness that the conduct would cause severe injury and damage to

   Plaintiff HAIRSTON.

82. Because defendants knowingly violated Plaintiff HAIRSTON’s clearly established

   constitutional rights in the many ways described above (including shooting her in the back

   of the head when she had driven past and then covering it up by prosecuting Plaintiff while

   barring her from obtaining exonerating evidence), defendants are not entitled to any

   qualified immunity.



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83. The GREENSBORO DEFENDANTS, SCOTT, JAMES, and PALMENTERI knew or

    should have known that charging Plaintiff HAIRSTON with felony assault on a police

    officer, handcuffing her to a hospital bed after having shot her in the head, and upon

    information and belief covering up TALLEY’s unlawful deadly force by reaching

    unwarranted conclusions about the shooting, would further violate Plaintiff’s clearly

    established constitutional rights.

84. The acts and omissions of the defendants that violated Plaintiff HAIRSTON’s clearly

    established constitutional rights proximately caused her injuries and damages as more fully

    described above.

85. Plaintiff HAIRSTON is entitled to recover compensatory, economic, consequential, and

    special damages of all defendants, jointly and severally, for defendants’ violations of

    Plaintiff’s constitutional rights under 42 U.S.C. §1983. Plaintiff is also entitled to recover

    punitive damages against each of the defendants under 42 U.S.C. §1983.

86. Plaintiff is entitled to recover her attorneys’ fees from all defendants, jointly and severally,

    pursuant to 42 U.S.C §1988.

                          SECOND CLAIM FOR RELIEF
                       42 U.S.C. §1983-Deliberate Indifference
(against the Greensboro Defendants, Chief Wayne Scott, Chief Brian L. James, State of
                     North Carolina, and District Attorney Crump)


87. Plaintiff HAIRSTON realleges and incorporates by reference all previous paragraphs of

    the Complaint as if fully set forth herein.

88. Defendants GREENSBORO DEFENDANTS, CHIEF SCOTT, CHIEF JAMES, STATE

    OF NORTH CAROLINGA, and DISTRICT ATTORNEY CRUMP are all persons within

    the meaning of 42 USC §1983.



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89. When they violated Plaintiff’s protected constitutional rights under 42 U.S.C. §1983, the

   defendants referenced in the preceding paragraph were acting in their official capacities in

   the course and scope of their employment with the GREENSBORO DEFENDANTS and

   the STATE OF NORTH CAROLINA, respectively. Defendants were all acting under color

   of North Carolina state law.

90. When they violated Plaintiff’s protected constitutional rights under 42 U.S.C. §1983,

   defendants TALLEY and PALMENTERI were following certain customs, policies,

   practices, and/or procedures promulgated by the GREENSBORO DEFENDANTS,

   SCOTT, and JAMES. More particularly, upon information and belief the GREENSBORO

   DEFENDANTS, SCOTT and JAMES directed, encouraged, allowed, and/or ratified the

   following practices that enabled TALLEY and PALMENTERI to act as they did in

   violating Plaintiff’s constitutional rights:

       a. tolerating the use of excessive and/or unjustified force by Greensboro police

           officers;

       b. allowing officers to shoot into cars that are passing them or have passed them;

       c. allowing officers to create unnecessary danger and risk of serious harm or death,

           with deliberate indifference to the harm that may come to unarmed and

           nonthreatening persons like Plaintiff HAIRSTON;

       d. covering up the unlawful use of excessive force through self-serving investigations

           post-incident intended to protect officers and place blame on the victims of

           excessive force;




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      e. encouraging a culture of blind support within the GPD for officers who have used

          excessive force while promoting a culture of assigning blame to the victims of

          excessive force;

      f. pursuing baseless criminal charges against the victims of excessive force as a means

          of exonerating the officers involved and assigning blame to the victims of excessive

          force;

      g. such other and further instances of institutional indifference and wrongdoing as will

          be revealed by discovery and proved at trial.

91. Upon information and belief, the GREENSBORO DEFENDANTS, SCOTT and JAMES

   failed to properly train officers and investigators to, among other things, to do the

   following:

      a. always avoid using lethal force unless the risk of serious harm or death to the officer

          at the actual moment is imminent, immediate, and unavoidable;

      b. carefully understand when the right to use lethal force exists and when it ends by

          focusing on the rule that the instant self-defense no longer exists the right to use

          lethal force no longer exists;

      c. never fire a weapon into a car that is passing or has passed the officer doing the

          firing;

      d. never fire a weapon at someone who is leaving the scene when the officer doing

          the firing is not facing imminent serious bodily harm or death;

      e. focus on acting in ways that protect the constitutional rights of citizens like Plaintiff

          rather than violating those rights;




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       f. fairly and independently investigate instances of potential excessive and lethal

           force, and otherwise call out instances of excessive and lethal force;

       g. in every investigation of the police-involved shootings, avoid the temptation to

           reject evidence that implicates the officer and that exonerates the victim;

       h. do not refer the victim of potential excessive or lethal force for prosecution unless

           the evidence supporting such a prosecution is supported by convincing evidence;

       i. avoid protecting fellow officers after the fact who have used excessive or lethal

           force improperly;

       j. hold officers who use excessive force, including unwarranted lethal force,

           accountable;

       k. provide officers with clear, written rules on the use of lethal force including the rule

           that officers should never fire into cars that are in the process of passing or have

           passed by them; and

       l. train officers in other and further ways as shall be proved at trial.

92. When he violated Plaintiff’s protected constitutional rights under 42 U.S.C. §1983,

   defendant ENOCHS was following certain customs, policies, practices, and/or procedures

   promulgated by defendants STATE OF NORTH CAROLINA and CRUMP. Upon

   information and belief, the STATE OF NORTH CAROLINA and CRUMP directed,

   encouraged, allowed, and/or ratified the following practices that enabled ENOCHS to act

   as he did in violating Plaintiff’s constitutional rights:

       a. allowing prosecutors to institute prosecutions against persons like Plaintiff without

           probable cause;




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   b. allowing prosecutors to initiate prosecutions against persons like Plaintiff for the

      improper purpose of protecting police officers who may have used excessive force;

   c. allowing prosecutors to withhold critical and potentially exonerating evidence from

      persons like Plaintiff who are being prosecuted after an interaction with a police

      officer;

   d. allowing prosecutors to pursue prosecutions of persons accused of assaulting an

      officer without first reviewing all evidence relating to the incident involved,

      including BWC footage;

   e. allowing prosecutors to pursue prosecutions against the victims of potential

      excessive force, including those who have been shot by police, without first

      reviewing all evidence including BWC footage;

   f. allowing prosecutors to initiate prosecutions against persons involved in

      interactions with police, including persons who have been shot by police, with a

      plan to ultimately dismiss the charge if a court allows the criminal defendant to

      obtain the BWC footage;

   g. allowing prosecutors to disrespect and/or ignore the constitutional rights of persons

      like Plaintiff;

   h. allowing prosecutors to proceed with prosecutions of persons accused of assaulting

      police based on the verbal and investigative reports from police alone without

      conducting any independent investigation and/or analysis of the incident;

   i. allowing prosecutors to initiate improper prosecutions without holding those

      prosecutors accountable for their actions; and




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     j. such other and further instances of institutional indifference and wrongdoing to be

         proved at trial.

93. Upon information and belief, the STATE OF NORTH CAROLINA and Defendant

  CRUMP failed to properly train Guilford County District Attorney staff including

  prosecutors like ENOCHS to do the following:

     a. be certain that probable cause exists for any prosecution before initiating that

         prosecution;

     b. carefully and impartially obtain and review all evidence before initiating a

         prosecution against the potential victim of excessive force by police;

     c. share vital and potentially exonerating evidence, including BWC footage, with

         persons who are being prosecuted for altercations with police where excessive force

         may have been used;

     d. carefully consider the constitutional rights of persons like Plaintiff who have been

         involved in altercations with police where excessive force was potentially used;

     e. prior to prosecuting persons like Plaintiff involved in altercations with police,

         review all available BWC footage;

     f. prosecute officers who have used excessive force, including unwarranted lethal

         force;

     g. undertake independent investigations into police shooting incidents before

         initiating prosecutions against the victims;

     h. prohibit prosecutors from pursuing prosecutions against persons accused of

         assaulting police on an understanding that if the defendant succeeds in obtaining

         the right to BWC footage then the charge will be dismissed;



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       i. requiring prosecutors to carefully consider whether they have probable cause to

           initiate a prosecution;

       j. requiring prosecutors to know the law, including Williams v. Strickland, 917 F.3d

           763 (2019) before prosecuting people who have been shot my police while driving

           a car; and

       k. other such training that the defendant should have provided but did not as will be

           proved at trial.

94. The defendants’ wrongdoing described in this claim constitutes a deliberate indifference

   to protecting the constitutional rights of Plaintiff HAIRSTON and persons like her.

95. The behaviors described herein constitute a reckless indifference to protecting the

   constitutional rights of people like Plaintiff HAIRSTON. Those behaviors were a moving

   force and proximate cause of the violations of Plaintiff HAIRSTON’s clearly established

   constitutional rights and of the injuries and damages she sustained.

96. Upon information and belief, the Defendants named in this claim deprived Plaintiff

   HAIRSTON of her clearly established constitutional rights knowingly, maliciously, and

   with conscious and reckless disregard of the constitutional rights and safety of Plaintiff and

   others like her.

97. Plaintiff HAIRSTON is entitled to recover her compensatory and consequential damages

   of these defendants, jointly and severally.

98. Plaintiff HAIRSTON is entitled to recover punitive damages of these defendants, jointly

   and severally.




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                            THIRD CLAIM FOR RELIEF
                    Violation of North Carolina State Constitution
                                 (against all defendants)

99. Plaintiff HAIRSTON realleges and incorporates by reference all preceding paragraphs of

   the Complaint as if fully set forth herein

100. The acts and omissions of the defendants violated Plaintiffs clearly established

   constitutional rights under the Constitution and laws of the State of North Carolina,

   including the Law of the Land provision contained therein.

101. As a direct and proximate result of the defendants’ violation of the Plaintiffs clearly

   established constitutional rights, Plaintiff HAIRSTON experienced the injuries and

   damage described above.

102. Upon information and belief, the defendants acted willfully, wantonly, and with reckless

   disregard of the Plaintiff’s constitutional rights and safety when they violated those rights.

103. Plaintiff HAIRSTON is entitled to recover both compensatory, consequential, and

   punitive damages of the defendants, jointly and severally.

                          FOURTH CLAIM FOR RELIEF
                               Assault and Battery
     (against defendants Talley, the Greensboro defendants, Scott, and James)

104. Plaintiff Hairston realleges and incorporates by reference all preceding paragraphs of the

   Complaint as if fully set forth herein.

105. Defendant TALLEY pointed a firearm at Plaintiff HAIRSTON and unjustifiably used

   deadly force against her where such force was objectively excessive and unreasonable

   under the circumstance.

106. Defendant TALLEY’s intentional act as described above put Plaintiff HAIRSTON in

   actual, subjective apprehension of immediate harmful or offense contact.



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107. Plaintiff HAIRSTON’s apprehension was objectively reasonable under the circumstances

   in that a person of ordinary prudence under the same or similar circumstances would have

   believed that harmful or offensive contact was about to occur.

108. TALLEY’s assault and battery of Plaintiff HAIRSTON was unreasonable and unlawful.

   109. When Defendant TALLEY shot Plaintiff HAIRSTON in the back of the head, Plaintiff

   did not pose any threat to TALLEY or any other police officer.

110. Defendant TALLEY acted with a depraved indifference to human life and with conscious

   disregard for the safety of the general public including the Plaintiff. His actions constituted

   an unwelcome and unprivileged touching of Plaintiff and were undertaken in bad faith and

   with malice.

100. As a direct and proximate result of the assault and battery described herein, Plaintiff

   HAIRSTON suffered the injuries and damages previously described.

101. At the time of the assault and battery described herein, Defendant TALLEY was acting

   in the course and scope of his employment with the GREENSBORO DEFENDANTS and

   was carrying out work duties for his employer. As such, the GREENSBORO

   DEFENDANTS and Defendants SCOTT and JAMES, in their capacities as Chiefs of

   Police for the GPD, are liable for the imputed actions of TALLEY pursuant to agency

   principles including but not limited to respondeat superior and vicarious liability.

102. Plaintiff HAIRSTON is entitled to recover of the defendants named in this claim, jointly

   and severally, all compensatory and consequential damages she sustained as well as

   punitive damages.




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                                FIFTH CLAIM FOR RELIEF
                             Negligence and Gross Negligence
         (against Talley, Greensboro defendants, Palmenteri, Scott, and James)
.

103. Plaintiff Hairston realleges and incorporates by reference all preceding paragraphs of the

    Complaint as if fully set forth herein.

104. The GREENSBORO DEFENDANTS, TALLEY, PALMENTERI, SCOTT, and JAMES

    all owed a duty of care to Plaintiff HAIRSTON to exercise reasonable care in the

    management and disposition of their police services.

105. In the alternative to Plaintiff’s previous allegations that the defendants named in this claim

    violated Plaintiff’s constitutional rights purposely, recklessly, callously, maliciously, and

    in a depraved manner, Plaintiff HAIRSTON alleges that the GREENSBORO

    DEFENDANTS, PALMENTERI, SCOTT, and JAMES were negligent in, among other

    things, the following ways:

       a. TALLEY negligently failed to learn under what circumstances a police officer may

           use lethal force including failing to learn that an officer may never shoot into a

           vehicle that has passed him or is passing him;

       b. TALLEY negligently decided to shoot Plaintiff HAIRSTON when she had driven

           past him;

       c. TALLEY negligently failed to use a less intrusive means of engaging with Plaintiff

           than shooting into her vehicle, means such as following Plaintiff or radioing for

           other officers to follow her;

       d. TALLEY negligently failed to recognize that he had no probable cause for shooting

           Plaintiff;




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   e. TALLEY negligently claimed that he shot Plaintiff through the front windshield

      when in fact he shot her through the back of the head from behind through the

      driver’s side window;

   f. TALLEY negligently failed to consider that no crime had been committed during

      the disturbance at the apartments and that no special circumstance existed that

      entitled him to use lethal force to stop Plaintiff from leaving;

   g. TALLEY negligently failed to realize that he was not in a self-defense position

      when he fired and that any right to use lethal force was instantly eliminated once

      he was no longer in a self-defense position (it being expressly denied that TALLEY

      was ever in a self-defense position);

   h. PALMENTERI negligently failed to conduct an accurate and impartial

      investigation into the shooting;

   i. PALMENTERI negligently concluded that TALLEY was in a self-defense position

      when he fired at Plaintiff when the physical evidence that PALMENTERI saw

      proved that TALLEY was not in a self-defense position when he fired;

   j. PALMENTERI negligently failed to fairly and properly consider TALLEY’s

      statement that he fired through the front of the Plaintiff’s windshield in self-defense,

      to wit, TALLEY was grossly mistaken because he actually shot Plaintiff from

      behind after she passed him;

   k. PALMENTERI negligently failed to fairly and properly consider TALLEY’S

      statement that he fired two more shots at Plaintiff after she had passed further by

      him in order to protect an approaching officer where there was no officer

      approaching;



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   l. PALMENTERI negligently failed to fairly and properly consider that BWC body

      cam footage showed that TALLEY was not in a self-defense position when he shot

      plaintiff in the back of the head;

   m. PALMENTERI negligently failed to consider that the right to use lethal force in

      self-defense ends instantly when the officer is out of danger;

   n. PALMENTERI negligently failed to fairly and properly consider Investigator

      Reed’s absurd accident reconstruction conclusion that the accident could have been

      avoided if Plaintiff had reduced her speed;

   o. PALMENTERI negligently chose to refer a case against Plaintiff to the District

      Attorney’s office for prosecution;

   p. Upon information and belief, PALMENTERI negligently failed to show all

      evidence to the District Attorney when he endorsed a prosecution against Plaintiff

      for felony assault on a police officer;

   q. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to train TALLEY on the use of lethal force when they hired him;

   r. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to conduct regular field exercises on lethal force so officers like TALLEY

      would know when it could be used and would understand that the right instantly

      ends when the officer is no longer at risk of immediate serious injury or death;

   s. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to create proper rules and protocols for when an officer can use lethal force;




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   t. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to establish a bright line rule, and train on that rule, prohibiting officers from

      shooting into passing vehicles;

   u. the GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to establish rules requiring officers to use less intrusive means with

      individuals who disobey an officer’s order;

   v. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to establish rules requiring their investigators who assess police shootings to

      conduct those investigations impartially and subject to review;

   w. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to properly investigate the shooting involving TALLEY and Plaintiff;

   x. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to review the investigative conclusions reached by PALMENTERI and to

      determine that those conclusions were erroneous;

   y. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to conduct a review of PALMENTERI’s decision to refer Plaintiff to

      prosecutors for a felony assault on an officer charge;

   z. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to establish proper rules and protocols for determining when victims of police

      lethal force should be prosecuted;

   aa. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

      failed to require that BWC body cam footage be provided to a prosecutor for his or




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           her use in determining whether a charge should be pursued against the victim of

           police lethal force;

       bb. The GREENSBORO defendants and defendants SCOTT and JAMES negligently

           failed to establish a committee or outside group to investigate police shootings for

           the purpose of deciding whether a charge against the victim should be referred to

           prosecutors;

       cc. The defendants referenced in this claim were otherwise negligent in other and

           further ways to be proved at trial.

106. The acts and omissions described above were undertaken with a reckless indifference to

   the rights and safety of Plaintiff and were willful and wanton. Such acts accordingly

   constitute gross negligence.

107. As a direct and proximate result of the negligence and gross negligence of TALLEY, the

   GREENSBORO DEFENDANTS, PALMENTERI, SCOTT, and JAMES, Plaintiff

   HAIRSTON experienced the injuries and damages previously described. Plaintiff is

   accordingly entitled to recover damages, both compensatory and punitive, from said

   defendants, jointly and severally.

                            SIXTH CLAIM FOR RELIEF
                                 False Imprisonment
         (against Greensboro defendants, Talley, Palmenteri, Scott, and James)


111. Plaintiff realleges and incorporates by reference all prior paragraphs of the Complaint as

   if fully set forth herein.

112. The defendants named in this claim effectuated the illegal restraint of Plaintiff

   HAIRSTON by taking actions to restrain her after the shooting incident occurred. More

   particularly, without probable cause defendants handcuffed Plaintiff to her hospital bed and

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   held her under arrest while she was hospitalized. Defendants based their false

   imprisonment of Plaintiff on a false probable cause basis.

113. Defendants used force and the threat of force against Plaintiff in order to illegally restrain

   her.

114. Plaintiff’s did not consent to being restrained and was restrained unlawfully against her

   will.

115. Plaintiff suffered severe emotional distress as a direct and proximate result of defendants’

actions as well as other and further damages to be proved at trial.

116. Plaintiff is entitled to recover damages of the defendants named in this claim, jointly and

   severally, for defendants’ false imprisonment of Plaintiff.


                          SEVENTH CLAIM FOR RELIEF
                      Intentional Infliction of Emotional Distress
       (against Talley, Palmenteri, Greensboro defendants, Scott, and James)

117. Plaintiff realleges and incorporates by reference all prior paragraphs of the Complaint as

    if fully set forth herein.

118. The acts and omissions committed by the defendants named in this claim were extreme

    and outrageous. Those acts and omissions are detailed in the prior sections of this

    Complaint.

119. The extreme and outrageous acts and omissions committed by these defendants were

   intended to cause Plaintiff severe emotional distress. More particularly, any person in the

   position of defendants would have known that the actions they undertook would cause any

   person in Plaintiff’s position severe emotional distress.

120. The extreme and outrageous conduct of the defendants did in fact proximately cause

    Plaintiff HAIRSTON to experience severe emotional distress.

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121. Defendants owed a duty to Plaintiff and to others similarly situated to refrain from

   engaging in the type of conduct that produced the severe emotional distress that defendants

   caused Plaintiff to experience.

122. Plaintiff HAIRSTON is entitled to recover damages of defendants, jointly and severally,

for the severe emotional distress she experienced and for all other related damages arising out

of that severe emotional distress.

                          EIGHTH CLAIM FOR RELIEF
                  Negligent Infliction of Severe Emotional Distress
       (against Talley, Palmenteri, Greensboro defendants, Scott, and James)

123. Plaintiff realleges and incorporates by reference all prior paragraphs of the Complaint as

    if fully set forth herein.

124. In the alternative, the defendants named in this claim negligently engaged in conduct that

    was reasonably foreseeable to cause plaintiff severe emotional distress.

125. Any reasonable person in the position of the defendants would have known that the

   actions they committed would produce severe emotional distress for a person in Plaintiff’s

   position.

126. Defendants’ wrongful conduct did in fact cause Plaintiff to experience severe emotional

    distress.

127. Defendants owed a duty to Plaintiff and others similarly situated to refrain from

    negligently engaging in the type of conduct that produced the severe emotional distress

    that defendants caused the Plaintiff to experience.

128. Plaintiff HAIRSTON is entitled to recover damages of these defendants, jointly and

   severally, for the severe emotional distress defendants caused her and for other damages

   Plaintiff experienced arising out of that distress.



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                           NINTH CLAIM FOR RELIEF
             Civil Conspiracy Under 42 U.S.C. §1983 and North Carolina
                               (against all defendants)


129. Plaintiff realleges and incorporates by reference all prior paragraphs of the Complaint as

    if fully set forth herein.

130. Upon information and belief, all defendants named in this lawsuit agreed and conspired

   with each other to do unlawful acts in unlawful ways to the harm of Plaintiff, all as more

   particularly described above.

131.Upon information and belief, the defendants undertook their unlawful acts with the

    purpose and intent of protecting defendant TALLEY and the GREENSBORO

    DEFENDANTS from liability for shooting Plaintiff when the defendants knew that the

    law prohibits officers from shooting into cars that are passing or have passed that officer.

132. Upon information and belief, among other things defendants TALLEY, the

    GREENSBORO DEFENDANTS, PALMENTERI, SCOTT, and JAMES agreed among

    themselves, through words and actions both express and implied, to create a false and

    unlawful narrative that Plaintiff was to blame for the shooting; that TALLEY was in a

    self-defense position when he shot Plaintiff and was blameless; that the physical evidence

    proving that TALLEY was not in a self-defense position when he shot Plaintiff from

    behind should be ignored; that TALLEY’s false statement that he shot through the front

    windshield of Plaintiff’s oncoming vehicle should be ignored; that TALLEY’s statement

    that he shot at Plaintiff two more times after she had passed him in order to protect another

    officer who was not actually there should be ignored; that the cause of the accident

    involving Plaintiff’s vehicle was her failure to reduce speed; that the BWC footage

    supported the defendants’ conclusion that TALLEY was in a self-defense position and that

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    Plaintiff was to blame for the shooting when this was untrue; that Plaintiff should be

    prosecuted for felony assault on a police officer; that Plaintiff would not be given the BWC

    footage either before or during her prosecution; and to otherwise agree to take unlawful

    steps for an unlawful purpose.

133.Upon information and belief, among other things defendants STATE OF NORTH

    CAROLINA, ENOCHS, and CRUMP unlawfully agreed among themselves and with the

    other defendants to prosecute Plaintiff for Felony Assault on a Government Officer with

    a Deadly Weapon without having probable cause to do so; to prosecute plaintiff as a means

    of continuing to perpetuate the false narrative that Plaintiff was to blame for the shooting

    rather than defendant TALLEY; to prosecute Plaintiff in order to protect the law

    enforcement defendants; to ignore the BWC footage that did not support a prosecution; to

    refuse to provide the BWC footage to the Plaintiff; to dismiss the charge against Plaintiff

    rather than provide Plaintiff the BWC footage; and to otherwise agree to take unlawful

    steps for an unlawful purpose.

134.Upon information and belief, all defendants took actual, concrete steps in furtherance of

    their agreement to achieve an unlawful purpose through unlawful means.

135. The unlawful acts undertaken by defendants in the furtherance of their conspiracy

    proximately caused the injuries and damages to Plaintiff previously described in this

    Complaint.

136. Each defendant is by operation of law equally responsible for all acts and omissions

    committed by every other defendant in the furtherance of the conspiracy.

137.The civil conspiracy described herein applies equally to all claims asserted in this

    Complaint including the 42 USC §1983 claims where defendants conspired to deprive



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    Plaintiff of her clearly established constitutional rights and the state law claims where

    defendants conspired to commit the wrongs described in those claims.

138. Plaintiff is entitled to recover of all defendants, jointly and severally, compensatory and

    punitive damages for all wrongdoing and harm caused by defendants’ conspiracy on all

    claims listed in this lawsuit where a civil conspiracy was involved.

                                   PRAYER FOR RELIEF

   WHEREFORE, Plaintiff Paulickia Jazzmun Hairston prays the Court as follows:

   a. That Plaintiff have and recover compensatory and consequential damages, including

       but not limited to emotional distress, permanent injury, loss of quality of life, scarring,

       pain and suffering, medical expenses, and loss of income in an amount in excess of

       $10,000,000.00 from all defendants, jointly and severally;

   b. That the Plaintiff have and recover punitive damages on all claims for which punitive

       damages are recoverable in an amount in excess of $2,000,000.00;

   c. That the Plaintiff have and recover her attorney’s fees pursuant to 42 U.S.C. § 1988;

   d. That the Plaintiff have and recover her attorneys’ fees under all applicable state law;

   e. That the costs of this action be taxed to the defendants, jointly and severally; and

   f. For such other and further amounts and relief as the Court may deem just and proper.

                            TRIAL BY JURY REQUESTED




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      Respectfully submitted, this the 30th day of June, 2022



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